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            Robcn C. Gottlieb   Associates 1>1.u


                       Suire 70!
           New York, NY l0006
                                            37-t-1506

           New York· Rome




                                                               November 6, 2020

Via ECF
The Honorable Ronnie Abrams
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

               RE:       United States v. Rajinder Singh, 16 Cr 791 (RA)

Dear Judge Abrams:
        I am writing on behalf of defendant Rajinder Singh and without objection from the
government to respectfully request the return of his passport, which was provided to pre-trial
services as part of the conditions of his pre-trial release. Mr. Singh pleaded guilty and was
sentenced by the Court on May 9, 2018 to a period of two years probation, which he has
successfully completed. Accordingly, there is no further reason for Mr. Singh to surrender his
passport.

       Thank you for the Court's consideration on this matter. I remain available for a
conference should Your Honor deem it necessary


                                                        Very truly yours,

                                                        ROBERT C. GOTTLIEB & ASSOCIATES
Application granted.

SO ORDERED.                                             <1~--r~
                                                        Paul Townsend

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Ronnie Abrams, U.S.D.J.
November 6, 2020
